ALMB 3 (Rev 12/17)




                                                        United States Bankruptcy Court
                                                          Middle District of Alabama


    IN RE: SHELBY D. GRIFFIN                                                                         CASE NO. 19-80814



                                     Debtor(s)


                                                                   CHAPTER 13 PLAN
                                                                   Date     5/28/2019

                                                                    Check If Amended Plan

    1. NOTICES
       1.1. Creditor Notices
       CREDITOR'S RIGHTS WILL BE AFFECTED BY THIS PLAN. You should carefully read this and other documents sent to you, and
       discuss them with your attorney.
       TO FILE AN OBJECTION TO CONFIRMATION. An objection to confirmation must be filed not later than seven days prior to the
       date fixed for the confirmation hearing. The document must state with particularity the grounds for the objection.
       PROOFS OF CLAIM. Creditors must file a timely proof of claim to be paid under this plan. Confirmation of this plan does not bar the
       debtor, trustee, or a party in interest from objecting to a claim. Confirmation of this plan does not constitute the allowance or
       disallowance of the amount of the creditor's claim, but it does control how the claim will be paid under the plan.

                 A limit on the amount of a secured claim which may result in a partial payment or no
       1.1.1     payment at all to the secured creditor, set out in paragraph 5.1. If the Included box is         ✔ Included       Not Included
                 checked, the plan must be served on the affected creditor. Rule 3012, F.R. Bankr. P.
                 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,
       1.1.2     set out in paragraph 6. If the Included box is checked, the plan must be served on the              Included   ✔ Not Included
                 affected creditor. Rule 4003, F.R. Bankr. P.
       1.1.3     Nonstandard provisions, set out in paragraph 17.                                                 ✔ Included       Not Included


    2. PAYMENT AND LENGTH OF PLAN

       Debtor shall pay            $60.00           per week                to the chapter 13 trustee beginning        6/28/2019      .
       The length of the plan is          60         months. Other payment provisions:




    3. FILING FEES

       The filing fee as prescribed by Local Rule 1006-1 shall be paid as follows:
           Filing fee paid in full directly to the clerk of court with the petition.
           Filing fee is being paid in installments directly to the clerk of court.
       ✔   Filing fee is being paid in installments through this plan as follows:
               Total filing fee:                                                                      $310.00
               Initial installment paid with filing of petition:                                        $0.00
               Remaining balance to be paid through the chapter 13 plan:                              $310.00




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    4. ATTORNEY’S FEES FOR DEBTOR’S BANKRUPTCY COUNSEL

        The following attorney’s fees shall be paid through the debtor’s plan payments:
        Total attorney fee:                                                                          $3,500.00
        Amount paid by the debtor directly to attorney prior to filing:                                   $0.00
        Net attorney fee being paid through the chapter 13 plan disbursements:                       $3,500.00


    5. SECURED CLAIMS

        5.1 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE PLAN LIMITS VALUE OF COLLATERAL

            The remainder of this paragraph will be effective only if the applicable box in paragraph 1.1.1 is checked.

            Pursuant to 11 U.S.C. §1322(b)(2), claims being paid under this section of the plan will be modified. For secured claims of
            creditors, unless ordered otherwise by the court, the plan provisions below control the value of the secured claim listed below.
            For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in the proof
            of claim filed in accordance with the bankruptcy rules controls over any contrary amounts listed below. The debtor proposes that
            the trustee make adequate protection payments prior to the confirmation of this plan pursuant to 11 U.S.C. §1326(a)(1) to the
            following creditors indicated below holding a purchase money security interest in personal property. Only those creditors entitled
            to 11 U.S.C. §1326(a)(1) adequate protection payments will receive pre-confirmation payments through the debtor's payments
            to the trustee. The trustee shall commence making such payments to creditors holding allowed claims secured by an interest in
            personal property consistent with the trustee's distribution process only after the timely filing of a proof of claim by such creditor.
            The trustee shall receive the percentage fee fixed under 28 U.S.C. § 586(e) on all adequate protection payments. Pre-
            confirmation adequate protection payments shall be applied to the principal of the creditor's claim. Upon confirmation of this
            plan, all secured creditors will receive adequate protection payments as set out below along with the payment of the debtor's
            attorney's fees. At such time as the debtor's attorney's fees have been paid in full, the creditor's claim shall be paid its specified
            monthly plan payments on the terms and conditions listed below.
                                                                                                                        § 1326
                                                                                                                         PMSI                  Specified
                                                                      Amount of                          Interest                  Adeq Prot
                 Creditor               Collateral Description                        Collateral Value                   Adeq                  Monthly
                                                                        Debt                               Rate                      Pymt
                                                                                                                         Prot?                 Payment
                                                                                                                        Yes/No
    +   CONSUMER PORTFOLIO
                                     2015 DODGE DART               $19,689.00        $8,250.00           6.00 %     Yes          $82.50        $220.00
    -   SERVICES



        5.2 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE VALUE IS NOT MODIFIED
            The claims listed below were either (1) incurred within 910 days before the petition date and secured by a purchase money
            security interest in a motor vehicle acquired for the personal use of the debtor, or (2) incurred within 365 days of the petition
            date and secured by a purchase money security interest in any other thing of value. The debtor proposes that the trustee make
            adequate protection payments prior to the confirmation of this plan pursuant to 11 U.S.C. § 1326(a)(1) to the following creditors
            indicated below holding a purchase money security interest in personal property. Only those creditors entitled to 11 U.S.C. §
            1326(a)(1) adequate protection payments will receive pre-confirmation payments through the debtor's payments to the trustee.
            The trustee shall commence making such payments to creditors holding allowed claims secured by an interest in personal
            property consistent with the trustee's distribution process and only after the timely filing of proofs of claim by such creditors. The
            trustee shall receive the percentage fee fixed under 28 U.S.C. § 586(e) on all adequate protection payments. Pre-confirmation
            adequate protection payments shall be applied to the principal of the creditor's claim. Upon confirmation of this plan, all secured
            creditors will receive adequate protection payments as set out below along with the payment of the debtor's attorney's fees. At
            such time as the debtor's attorney's fees have been paid in full, creditors' claims shall be paid the specified monthly plan
            payments on the terms and conditions listed below as required under 11 U.S.C. § 1325(a)(5). Claims being paid under this
            section of the plan will not be affected by 11 U.S.C. § 506 and will be paid pursuant to 11 U.S.C. § 1325(a)(5).

                                                                                                                          § 1326
                                                                                                                           PMSI                   Specified
                                                                              Amount of                      Interest                Adeq Prot
                      Creditor               Collateral Description                       Collateral Value                 Adeq                   Monthly
                                                                                Debt                           Rate                    Pymt
                                                                                                                           Prot?                  Payment
                                                                                                                          Yes/No
    +                                                                     $               $                         %                $           $
    -


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     6. LIEN AVOIDANCE


         ✔    None.


     7. SURRENDERED PROPERTY
        The debtor surrenders the following collateral. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as to
        surrendered collateral. Any secured claim submitted by such creditor will receive no distribution under this plan until an amended
        proof of claim reflecting any deficiency balance remaining following surrender, if applicable, is filed by such creditor.

                            Creditor                              Collateral Description              Amount of Debt          Value of Collateral

    +     GUARDIAN CREDIT UNION                         2015 KAWASAKI VULCAN MOTORCYCLE              $4,840.00            $3,868.00
    -

     8. CURING DEFAULTS
        Pursuant to 11 U.S.C. § 1322(b)(5), the debtor shall cure defaults with respect to the creditors indicated below. The trustee shall
        pay through this plan the allowed claims for arrearages at 100%. Unless otherwise ordered by the court, the amount of default to
        be cured under this provision shall be the amount of the allowed claim filed by the creditor. The amount of arrearage listed herein
        is an estimate, and in no way shall this estimate limit what the trustee shall distribute to said creditor under this plan to cure the
        default.

                                                                                                     Amount of         Interest
                                  Creditor                         Collateral Description                                           Monthly Payment
                                                                                                     Arrearage           Rate

    +                                                                                            $                            %     $
    -

     9. DIRECT PAYMENTS
        The following secured creditors or holders of long-term debt will be paid directly by the debtor to the creditor. The debtor shall make
        all 11 U.S.C. § 1326 pre-confirmation adequate protection payments directly to the following creditors pursuant to the terms of the
        contract with the creditor. The debtor shall continue to make all payments to the creditor directly pursuant to the terms of the
        contract following the confirmation of the debtor's plan.

                                                                                            Value of        Date Payment to             Direct Payment
                       Creditor                 Collateral Description    Amount of Debt
                                                                                            Collateral          Resume                      Amount

    +                                                                     $                 $                                       $
    -


     10. LONG-TERM DEBTS MAINTAINED THROUGH PLAN
         The debtor proposes that the trustee maintain the following long-term debts through the plan. Prior to confirmation of this plan, the
         trustee shall make adequate protection payments to all of the following long term creditors indicated below. The trustee shall
         commence making such payments to creditors holding allowed secured claims consistent with the trustee's distribution process
         and only after the timely filing of proofs of claim by such creditors. The trustee shall receive the percentage fee fixed under 28
         U.S.C. § 586(e) on all payments. Upon confirmation of this plan, said long term creditors will receive payments as set out below
         along with the payment of the debtor's attorney's fees. Unless otherwise ordered by the court, the amounts listed on a proof of
         claim filed before the filing deadline under Rule 3002(c), Federal Rules of Bankruptcy Procedure, or any notice of payment
         change filed under Rule 3002.1(b), Federal Rules of Bankruptcy Procedure, control over any contrary amounts listed below as to
         the current installment payment. In the absence of a contrary claim timely filed, the amounts stated below are controlling.


                                                                                                Amount of
                            Creditor                          Collateral Description                             Collateral Value       Monthly Payment
                                                                                                  Debt

    +                                                                                       $                    $                      $
    -

     11. DOMESTIC SUPPORT OBLIGATIONS

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          ✔    None.


     12. PRIORITY CLAIMS (Excluding Domestic Support Obligations)
         The debtor will pay all priority claims including the following pursuant to 11 U.S.C. § 507 unless a claimant expressly agrees
         otherwise. See 11 U.S.C. § 1322(b)(10).

                                                                                                Interest Rate         Scheduled
                             Claimant                               Type of Priority                                                   Monthly Payment
                                                                                                (if applicable)        Amount

    +                                                                                                       %     $                    $
    -

     13. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Executory contracts and unexpired leases receive the following designated treatment. For all executory contracts and unexpired
         leases being assumed by the debtor pursuant to this plan, the debtor shall make all pre-confirmation 11 U.S.C. § 1326 adequate
         protection payments directly to the lessors pursuant to the terms of the contracts. For all contracts assumed, following the
         confirmation of the debtor's plan the debtor shall continue to make all payments directly to the creditors pursuant to the terms of
         the contracts. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as to rejected contracts or leases. Any
         claim submitted by such creditor will receive no distribution under this plan until an amended proof of claim reflecting any
         deficiency balance remaining following rejection, if applicable, is filed by such creditor.


                              Creditor                            Collateral Description                     Reject                        Assume


        +
        -   NPRTO SOUTH-EAST, LLC                        LOST PHONE
                                                                                                                  ✔

     14. SPECIALLY CLASSIFIED UNSECURED CLAIMS
         The following claims shall be paid as specially classified unsecured claims and shall receive the following designated treatment:

                                                                                       Amount of Debt to be
                               Creditor                         Amount of Debt                               Interest Rate            Monthly Payment
                                                                                        Specially Classified

        +                                                   $                          $                                    %     $
        -

     15. UNSECURED CLAIMS

          ✔    Percentage Plan: Allowed non-priority unsecured claims shall be paid through the distribution of the debtor's chapter 13
                plan at a rate of 0.00        %.

        If the selected plan's dividend to unsecured creditors is less than 100%, the debtor proposes to pay to the trustee all projected
        disposable income for the applicable commitment period for the benefit of unsecured creditors as required by
        11 U.S.C. § 1325(b).

    16. OTHER PLAN PROVISIONS
        (a) Lien Retention: Allowed secured claim holders shall retain liens until the liens are released or upon completion of all payments
        under this plan unless specified in paragraph 6.

        (b) Vesting of Property of the Estate:

         ✔    Property of the estate shall remain property of the estate subsequent to confirmation of this plan.

              All property of the estate, whether it remains in the estate or revests with the debtor upon confirmation of the plan, shall
              remain in the debtor's possession and control. Subject to the requirements of 11 U.S.C. § 363, the debtor shall have use of
              property of the estate.

        (c) Direct Payments by Debtor: Secured creditors and lessors to be paid directly by the debtor may continue to mail to the debtor
        the customary monthly notices or coupons notwithstanding the automatic stay.

     17. NONSTANDARD PROVISIONS



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         Under Rule 3015(c), Federal Rules of Bankruptcy Procedure, nonstandard provisions must be set forth below. A nonstandard
         provision is a provision not otherwise included in or deviates from this plan. Nonstandard provisions set out elsewhere in this
         plan are ineffective.

         The following plan provisions will be effective only if “Included” is selected in paragraph 1.1.3.
         DEBTOR WILL CONTINUE TO PAY PRE-PETITION AND POST-PETITION ELECTRIC SERVICE DEBT IN THE ORDINARY
         COURSE OF BUSINESS INLIEU OF POSTING A DEPOSIT AS ADEQUATE ASSURANCE OF FUTURE PAYMENT UNDRE
         SECTION 366 OF THE UNITED STATES BANKRUPTCY CODE. DEBTOR ACKNOWLEDGES AND AGREES THAT THE
         AUTOMATIC STAY DOES NOT BAR ALABAMA POWER COMPANY’S EFFORTS TO COLLECT PRE-PETITION AND POST-
         PETITION UTLITY SERVICE DEBT.

     18. SIGNATURES OF DEBTOR AND DEBTOR'S ATTORNEY
         If the debtor does not have an attorney, the debtor must sign below. If he or she does have an attorney, the debtor's signature is
         optional. The debtor's attorney, if any, must sign below.

        /s/ Shelby D. Griffin
        Signature of Debtor                                                    Signature of Joint Debtor

        Executed on          05/28/2019                                         Executed on




        /s/ David S. Clark                                                      Executed on        05/28/2019
        Signature of Attorney for Debtor(s)



     By filing this document, the debtor and his or her attorney (if applicable) certify that the wording and order of the provisions in
     this chapter 13 plan are identical to those contained in ALMB Local Form 3, other than any nonstandard provisions included in
     paragraph 17.




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